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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE                )
 OF THE NAACP, et al.,                        )
                                              ) Civil Action No.: 1:22-cv-00339
               Plaintiffs,                    )
                                              )
        v.                                    ) Judge Susan P. Baxter
                                              )
 LEIGH M. CHAPMAN, et al.,                    )
                                              )
               Defendants.                    )

             MOTION FOR ADMISSION PRO HAC VICE OF JOHN M. GORE
                  ON BEHALF OF INTERVENOR-DEFENDANTS

       John M. Gore hereby moves under LCvR 83.2 and LCvR 83.3 to be admitted to appear and

practice in this Court in the above-captioned matter as counsel pro hac vice for Intervenor-

Defendants David Ball, James D. Bee, Debra Biro, Jesse D. Daniel, Gwendolyn Mae DeLuca,

Ross M. Farber, Lynn Marie Kalcevic, Vallerie Sicilano-Biancaniello, S. Michael Streib, the

Republican National Committee, National Republican Congressional Committee, and Republican

Party of Pennsylvania.

       In support of this motion, undersigned counsel attaches the Affidavit for Admission Pro

Hac Vice of John M. Gore filed herewith, which, it is averred, satisfies the requirements of the

foregoing Local Rules and Standing Order.
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                                      Respectfully submitted,

Dated: November 7, 2022                   /s/ John M. Gore
                                          John M. Gore (pro hac vice motion pending)
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                                          Counsel for Intervenor-Defendants




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